Case 2:06-cr-20056-KHV            Document 779         Filed 01/14/11      Page 1 of 17




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )                       CRIMINAL ACTION
v.                                          )                       No. 06-20056-03-KHV
                                            )
TONI BAKER,                                 )                       CIVIL ACTION
                                            )                       No. 10-2184-KHV
                         Defendant.         )
____________________________________________)

                                 MEMORANDUM AND ORDER

        This matter is before the Court on defendant’s Motion Under 28 U.S.C. § 2255 To Vacate,

Set Aside Or Correct Sentence By A Person In Federal Prison (Doc. #744) filed April 8, 2010. For

reasons stated below, the Court overrules defendant’s motion.

                                       Factual Background

        On March 31, 2006, a grand jury returned a 36-count indictment which charged Toni Baker

and 13 co-defendants. In particular, the indictment charged defendant with (1) conspiracy to

distribute and possess with intent to distribute 50 grams or more of a mixture or substance

containing cocaine base (crack), five kilograms or more of a mixture or substance containing cocaine

and 100 kilograms or more of marijuana, in violation of 21 U.S.C. §§ 841(a)(1) and 846; (2) three

counts of using a telephone to facilitate a drug trafficking offense, in violation of 21 U.S.C. § 843(b)

and 18 U.S.C. § 2; and (3) money laundering, in violation of 18 U.S.C. §§ 1956(a)(1)(A)(I),

(a)(1)(B)(I) and 2. On October 23, 2007, pursuant to a plea agreement, defendant pled guilty to

money laundering in violation of 18 U.S.C. § 1956. See Petition To Enter Plea Of Guilty And Order

Entering Plea (Doc. #328). Defendant’s total offense level was 40, with a criminal history

category IV, resulting in a guideline range of 360 months to life in prison. See Presentence
Case 2:06-cr-20056-KHV           Document 779          Filed 01/14/11     Page 2 of 17




Investigation Report (“PSIR”) dated Mar. 24, 2009 ¶¶ 174-75. Even so, defendant’s sentence was

capped by the statutory maximum of 240 months in prison for the offense of money laundering. See

id. At the original sentencing hearing on March 31, 2009, defendant objected to her criminal history

category, the calculation of drug quantity and a firearm enhancement.1 In particular, defendant

claimed that the offense level in the PSIR was based in part on statements to agents after she had

agreed to cooperate and after agents had promised that the statements would not be used against her.

Defendant conceded, however, that even if the Court sustained all of her objections, she faced a

minimum guideline range starting at 135 months which was greater than the 96-month sentence

which the government intended to propose in its Section 5K1.1 motion. See Testimony Of

Defendant On March 31, 2009.

       The Court continued sentencing to April 7, 2009. At the beginning of the hearing that day,

the parties announced that they had agreed that defendant would withdraw her objections and the

government would file a Section 5K1.1 motion and request a sentence of 96 months. After

reviewing the relevant factors, the Court sentenced defendant to 96 months in prison. See Judgment

In A Criminal Case (Doc. #648) filed April 9, 2009. Defendant did not appeal. Carl Cornwell

represented defendant throughout this proceeding.2

       On April 8, 2010, defendant filed a pro se motion to vacate her sentence under 28 U.S.C.

§ 2255. Liberally construed, defendant’s motion alleges that Cornwell was ineffective because

(1) he did not present or investigate any potential defenses, (2) he did not appeal or advise defendant


       1
                Defendant also argued that she was eligible for a three level decrease for acceptance
of responsibility instead of the two levels proposed in the PSIR.
       2
               Bruce Houdek also represented defendant for a period between the plea and the
sentencing.

                                                 -2-
Case 2:06-cr-20056-KHV           Document 779          Filed 01/14/11     Page 3 of 17




of the time limits for appeal, (3) he induced defendant to plead guilty by stating that defendant could

be subject to a sentence ten times greater than the sentence actually allowed for the charged offense

and (4) he suggested a waiver of appeal as part of the plea agreement even though defendant did not

agree to that part of the plea agreement.

                                              Analysis

I.     Defendant’s Motion To Amend Her Section 2255 Claim (Doc. #759)

       Liberally construing defendant’s amendment to her Section 2255 motion, see Memorandum

Of Law To Support Motion Under 2255 Filed April 8, 2010 (Doc. #759), defendant seeks to add two

additional claims: (5) her base offense level erroneously included a firearm enhancement and (6) the

quantity of narcotics used to calculate her base offense level was based on her statements to

government agents after she had agreed to cooperate and after the agents had assured her that the

statements could not be used against her.

       Rule 15, Fed. R. Civ. P., governs a motion to amend a Section 2255 petition if it is made

before the one-year limitation period for filing a Section 2255 petition has expired. United States

v. Ohiri, 133 Fed. Appx. 555, 559 (10th Cir. 2005). Here, defendant filed her amendment after the

one-year deadline.3 An untimely amendment to a Section 2255 motion which clarifies or amplifies

a claim or theory in the original motion by way of additional facts may, in the district court’s


       3
                Section 2255 provides a one-year period of limitation which ordinarily runs from the
date on which the judgment of conviction becomes final. See 28 U.S.C. § 2255. If a defendant does
not file a direct appeal of his conviction or sentence, the conviction becomes final upon the
expiration of the time in which to take a direct criminal appeal. United States v. Prows, 448 F.3d
1223, 1227-28 (10th Cir. 2006). Here, on April 7, 2009, the Court entered judgment. See Judgment
In A Criminal Case (Doc. #648). Under Rule 4(b) of the then current version of the Federal Rules
of Appellate Procedure, defendant’s judgment became final ten days later (excluding Saturdays and
Sundays), on April 21, 2009. Therefore defendant had until April 21, 2010 to file a motion to vacate
under Section 2255.

                                                 -3-
Case 2:06-cr-20056-KHV           Document 779          Filed 01/14/11     Page 4 of 17




discretion, relate back to the date of the original motion if the original motion was timely filed and

the proposed amendment does not seek to add a new claim or to insert a new theory into the case.

United States v. Espinoza-Saenz, 235 F.3d 501, 505 (10th Cir. 2000).

       Here, the Court denies defendant leave to amend because she seeks to insert new theories

which are not raised in her original motion. See id. (rejecting new claims of ineffective assistance

filed two months after deadline in 28 U.S.C. § 2255).4 The Court also denies leave to amend

because the proposed amendment is futile – both proposed claims are procedurally barred and they

lack substantive merit.

II.    Defendant’s Section 2255 Motion (Doc. #744)

       The standard of review of Section 2255 petitions is quite stringent. The Court presumes that

the proceedings which led to defendant’s conviction were correct. See Klein v. United States, 880

F.2d 250, 253 (10th Cir. 1989). To prevail, defendant must show a defect in the proceedings which

resulted in a “complete miscarriage of justice.” Davis v. United States, 417 U.S. 333, 346 (1974).

       A.      Procedural Bar – Waiver Of Collateral Challenges (Claims 1, 2, 5 and 6)

       The government asserts that defendant’s claims are barred by the waiver of collateral

challenges in the plea agreement.5 See Government’s Response To Defendant’s Motion Pursuant


       4
                 The Tenth Circuit has explained that the restriction on amendment of a Section 2255
petition is to prevent a defendant from undermining the one-year limitations period by alleging new
claims of error after the expiration of the limitations period. See id.
       5
               Defendant argues that by negotiating and attempting to enforce the waiver in the plea
agreement, the Assistant United States Attorney (“AUSA”) breached her ethical duties. See
Memorandum Of Law To Support Motion Under 2255 Filed April 8, 2010 (Doc. #759) filed June 1,
2010 at 2. Initially, defendant has not shown that a violation of an ethical duty is necessarily an
error of constitutional proportion. See Strickland v. Washington, 466 U.S. 668, 688 (1984)
(prevailing norms of practice under ABA standards only “guides” to determining what is reasonable
                                                                                      (continued...)

                                                 -4-
Case 2:06-cr-20056-KHV           Document 779          Filed 01/14/11     Page 5 of 17




To 28 U.S.C. § 2255 (Doc. #770) filed August 25, 2010 at 3-6. A knowing and voluntary waiver

of the statutory right to appeal or to collaterally attack a sentence is generally enforceable. United

States v. Chavez-Salais, 337 F.3d 1170, 1172 (10th Cir. 2003); United States v. Cockerham, 237

F.3d 1179, 1181 (10th Cir. 2001), cert. denied, 534 U.S. 1085 (2002); United States v. Hernandez,

134 F.3d 1435, 1437 (10th Cir. 1998). The Court applies a three-pronged analysis to evaluate the

enforceability of such a waiver: (1) whether the disputed issue falls within the scope of the waiver;

(2) whether defendant knowingly and voluntarily waived his rights; and (3) whether enforcing the

waiver would result in a miscarriage of justice. United States v. Hahn, 359 F.3d 1315, 1325 (10th

Cir. 2004) (en banc); see United States v. McMillon, No. 02-20062-01-JWL, 2004 WL 2660641, at



       5
         (...continued)
assistance of counsel); United States v. Mullins, 613 F.3d 1273, 1289 (10th Cir. 2010); United States
v. Orange, 2000 WL 757735, at *1, 215 F.3d 1338 (Table) (10th Cir. June 12, 2000) (28 U.S.C.
§ 530B does not require exclusion of otherwise admissible evidence in federal court even if such
evidence obtained in violation of state professional conduct rules incorporated into local rules of
federal district court); United States v. Thomas, 474 F.2d 110, 112 (10th Cir. 1973) (violation of
canon of ethics not necessarily remedied by reversal of conviction; ethical question not necessarily
constitutional question).
        In any event, defendant has not shown that the AUSA violated the applicable ethics rules.
AUSAs are subject to state ethical rules to the same extent and manner as other attorneys in that
state. See 28 U.S.C. § 530B(a). Accordingly, in the District of Kansas, AUSAs are subject to the
Kansas Rules of Professional Conduct which do not explicitly prohibit prosecutors from seeking a
post-conviction waiver as part of a plea agreement. Kansas courts apparently have not addressed
the issue, but the Kansas Supreme Court has recognized that a knowing and voluntary waiver of
appeal is generally enforceable. See State v. Patton, 287 Kan. 200, Syl. ¶ 13, 195 P.3d 753 (2008)
(knowing and voluntary waiver of statutory right to appeal generally enforceable); State v.
Campbell, 273 Kan. 414, 424-25, 44 P.3d 349, 356 (2002) (same). Here, the AUSA sought a waiver
which was entirely consistent with Tenth Circuit law as set forth in United States v. Cockerham, 237
F.3d 1179, 1187 (10th Cir. 2001). Cockerham noted that “a plea agreement waiver of
postconviction rights does not waive the right to bring a § 2255 petition based on ineffective
assistance of counsel claims challenging the validity of the plea or the waiver,” id., but the waiver
here specifically preserved such claims. In sum, defendant has not shown that by negotiating and
attempting to enforce a waiver of post-conviction rights, the AUSA violated any applicable rule of
professional conduct.

                                                 -5-
Case 2:06-cr-20056-KHV          Document 779          Filed 01/14/11     Page 6 of 17




*3 (D. Kan. Nov. 19, 2004).

               1.     Scope of the Waiver

               To determine whether the disputed issue falls within the scope of the waiver, the

Court begins with the plain language of the plea agreement. United States v. Anderson, 374 F.3d

955, 957 (10th Cir. 2004); Hahn, 359 F.3d at 1328. The Court construes the plea agreement

according to contract principles and based on what defendant reasonably understood when she

entered the plea. United States v. Arevalo-Jimenez, 372 F.3d 1204, 1206 (10th Cir. 2004). The Court

strictly construes the waiver and resolves any ambiguities against the government and in favor of

defendant. Hahn, 359 F.3d at 1343.

       The plea agreement states in relevant part as follows:

               13.      Waiver of Appeal and Collateral Attack. Defendant knowingly and
       voluntarily waives any right to appeal or collaterally attack any matter in connection
       with this prosecution, conviction and sentence. The defendant is aware that Title 18,
       U.S.C. § 3742 affords a defendant the right to appeal the conviction and sentence
       imposed. By entering into this agreement, the defendant knowingly waives any right
       to appeal a sentence imposed which is within the guideline range determined
       appropriate by the court. The defendant also waives any right to challenge a
       sentence or otherwise attempt to modify or change h[er] sentence or manner in which
       it was determined in any collateral attack, including, but not limited to, a motion
       brought under Title 28, U.S.C. § 2255 [except as limited by United States v.
       Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001)], a motion brought under Title 18
       U.S.C. § 3582(c)(2) and a motion under Fed. Rule Civ. Pro 60(b). In other words,
       the defendant waives the right to appeal the sentence imposed in this case except to
       the extent, if any, the court departs upwards from the applicable sentencing guideline
       range determined by the court. However, if the United States exercises its right to
       appeal the sentence imposed as authorized by Title 18, U.S.C. § 3742(b), the
       defendant is released from this waiver and may appeal the sentence as authorized by
       Title 18, U.S.C. § 3742(a).

Plea Agreement ¶ 13. The scope of this waiver unambiguously includes the right to collaterally

attack by a Section 2255 motion any matter in connection with defendant’s prosecution, conviction

or sentence. In Cockerham, the Tenth Circuit noted that “a plea agreement waiver of postconviction

                                                -6-
Case 2:06-cr-20056-KHV           Document 779          Filed 01/14/11     Page 7 of 17




rights does not waive the right to bring a § 2255 petition based on ineffective assistance of counsel

claims challenging the validity of the plea or the waiver,” but that “collateral attacks based on

ineffective assistance of counsel claims that are characterized as falling outside that category are

waivable.” 237 F.3d at 1187. In this case, defendant’s first, second, fifth and sixth claims (counsel’s

failure to present or investigate defenses, counsel’s failure to appeal or advise defendant of the time

limits for appeal, application of the firearm enhancement and calculation of drug quantity) do not

challenge the validity of the plea or waiver.6 Accordingly, those claims fall within the scope of the

waiver in the plea agreement. See id.

               2.      Knowing And Voluntary Nature Of The Plea

               To ascertain whether defendant knowingly and voluntarily waived her rights, the

Court evaluates the language of the plea agreement and the plea petition, and the Rule 11 colloquy.

Hahn, 359 F.3d at 1325. The Court conducted a thorough inquiry at the plea hearing. At that time

defendant affirmed that she understood the charge against her, the maximum penalties, the expected

sentencing range of 168 to 210 months before any Section 5K1.1 motion, the rights which she was

waiving and the factual basis for her plea. Defendant acknowledged that her plea was free and

voluntary, that no one had forced or threatened her to enter it, and that the only reason she was

making a plea was that she was in fact guilty as charged. She acknowledged that she understood that

under Paragraph 13 of the plea agreement, unless the Court gave her a sentence above the applicable


       6
                See Plea Agreement ¶ 13; see United States v. Macias, 229 Fed. Appx. 683, 687 (10th
Cir. 2007) (plea agreement’s waiver of collateral challenges barred claim that counsel failed to
consult with defendant about appeal); United States v. Davis, 218 Fed. Appx. 782, 784 (10th Cir.
2007) (plea waiver barred claim that counsel failed to file appeal, which does not go to validity of
plea or waiver); United States v. Hogan, Nos. Civ-09-430-JHP, CR-08-027-JHP, 2010 WL 2594665,
at *3 (E.D. Okla. June 23, 2010) (same); United States v. Phelps, No. 07-40051-01-JAR, 2010 WL
1677754, at *4 (D. Kan. Apr. 26, 2010) (same).

                                                 -7-
Case 2:06-cr-20056-KHV            Document 779          Filed 01/14/11      Page 8 of 17




guideline range, she would have no right to appeal or otherwise attack the sentence or any other

matter in the case. Nothing in the record suggests that defendant’s plea or waiver of post-conviction

rights was unknowing or involuntary. In sum, the language of the plea agreement and the Rule 11

colloquy established that defendant’s waiver of her rights was knowing and voluntary.

                3.      Miscarriage Of Justice

                The Court must “determine whether enforcing the waiver will result in a miscarriage

of justice.” Id. at 1327. This test is not met unless (1) the district court relied on an impermissible

factor such as race; (2) defendant received ineffective assistance of counsel in conjunction with

negotiation of the waiver; (3) the sentence exceeds the statutory maximum; or (4) the waiver is

otherwise unlawful in the sense that it suffers from error that seriously affects the fairness, integrity

or public reputation of judicial proceedings. Id. Defendant bears the burden of demonstrating that

the waiver results in a miscarriage of justice. Anderson, 374 F.3d at 959.

        The Court finds that enforcement of the waiver does not implicate any of the four factors

listed above. In particular, defendant received a sentence of 96 months in prison, which was less than

the statutory maximum for the money laundering offense (240 months), less than the expected

sentencing range discussed at the Rule 11 hearing (168 to 210 months) and far below defendant’s

potential exposure on the conspiracy count (360 months to life) which the government agreed to

dismiss as part of the plea agreement. See United States v. Green, 405 F.3d 1180, 1193-94 (10th Cir.

2005); United States v. Porter, 405 F.3d 1136, 1144 (10th Cir.) (“statutory maximum” under Hahn

inquiry refers to statute of conviction), cert. denied, 546 U.S. 980 (2005). Furthermore, enforcement

of the waiver as to collateral challenges does not seriously affect the fairness, integrity or public

reputation of the proceedings. See United States v. Maldonado, 410 F.3d 1231, 1233-34 (10th Cir.)



                                                  -8-
Case 2:06-cr-20056-KHV            Document 779           Filed 01/14/11      Page 9 of 17




(waiver of appellate rights enforced where sentence did not exceed statutory maximum and was

based on judge-made findings), cert. denied, 546 U.S. 989 (2005). The Court finds that enforcing

the waiver will not result in a miscarriage of justice. In sum, defendant’s first, second, fifth and sixth

claims are barred by the waiver of collateral challenges in the plea agreement.

        B.      Substantive Merit Of Defendant’s Claims

        To establish ineffective assistance of counsel, defendant must show that (1) the performance

of counsel was deficient and (2) the deficient performance was so prejudicial that there is a

“reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different.” Strickland, 466 U.S. at 687, 694. To meet the first element, i.e.

counsel’s deficient performance, defendant must establish that counsel “made errors so serious that

counsel was not functioning as the ‘counsel’ guaranteed the defendant by the Sixth Amendment.”

Id. at 687. In other words, defendant must prove that counsel’s performance was “below an

objective standard of reasonableness.” United States v. Walling, 982 F.2d 447, 449 (10th Cir. 1992).

The Supreme Court recognizes, however, “a strong presumption that counsel’s conduct falls within

the wide range of reasonable professional assistance.” Strickland, 466 U.S. at 689; see United States

v. Rantz, 862 F.2d 808, 810 (10th Cir. 1988), cert. denied, 489 U.S. 1089 (1989). As to the second

element, the Court must focus on the question “whether counsel’s deficient performance render[ed]

the result of the trial unreliable or the proceeding fundamentally unfair.” Lockhart v. Fretwell, 506

U.S. 364, 372 (1993).

                1.      Failure To Present Or Investigate Potential Defenses - Claim 1

                Defendant argues that counsel was ineffective because he did not present or

investigate potential defenses. At the plea hearing, defendant conceded that the government had


                                                   -9-
Case 2:06-cr-20056-KHV          Document 779           Filed 01/14/11    Page 10 of 17




evidence that (1) she was a member of the conspiracy and that members of the conspiracy distributed

at least 15 kilograms of cocaine and/or at least 150 grams of cocaine base; (2) she was “often

instrumental in obtaining and transporting narcotics for this organization and was trusted with large

amounts of money;” (3) as part of her involvement, she made trips to and from St. Louis in a car

equipped with a hidden compartment to conceal narcotics (on the way to St. Louis) and to conceal

money (on the way back to Kansas City); (4) on one occasion, she discussed with Savino Davila that

she had too much money to fit within the hidden compartment; and (5) she discussed sources of

supply with Savino Davila and how to set up accounts with a source with Savino Davila and

defendant each having their own account. See Plea Agreement ¶ 2. Defendant has not cited any

legal or factual defense to the charges or the evidence which the government outlined in the plea

agreement.7 Defendant’s conclusory allegations of inadequate pretrial preparation do not establish

deficient performance or prejudice and are insufficient to warrant an evidentiary hearing. See

United States v. Kilpatrick, 124 F.3d 218, 1997 WL 537866, at *3 (10th Cir. Sept. 2, 1997)

(allegations of ineffective assistance must be specific and particularized; conclusory allegations do

not warrant hearing); Hatch v. Oklahoma, 58 F.3d 1447, 1457, 1471 (10th Cir. 1995) (same), cert.


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                 Defendant’s claim is extremely vague, but to the extent she implies that counsel
failed to interview or subpoena witnesses, she must provide an affidavit of the potential witness as
to the nature of the proposed testimony. See United States v. Ashimi, 932 F.2d 643, 650 (7th Cir.
1991) (to show ineffective assistance, evidence about testimony of putative witness must generally
be presented by witness testimony or affidavit); Sanders v. Trickey, 875 F.2d 205, 210-11 (8th Cir.)
(failure to provide affidavit from witness regarding potential testimony precludes finding of
prejudice), cert. denied, 493 U.S. 898 (1989); United States v. Schaflander, 743 F.2d 714, 721 (9th
Cir. 1984) (to warrant evidentiary hearing, movant must submit affidavit or sworn statement from
witness or counsel), cert. denied, 470 U.S. 1058 (1985); United States v. Anderson, No. 95-20086-
JWL, 2003 WL 22757928, at *3 (D. Kan. Nov. 6, 2003) (Section 2255 movant required to submit
affidavit of putative witness); United States v. Cosby, 983 F. Supp. 1022, 1026 (D. Kan. 1997)
(prejudice not established where defendant did not submit affidavit of potential alibi witnesses); see
also United States v. Jones, 124 F.3d 218, 1997 WL 580493, at *1 (10th Cir. Sept. 19, 1997)
(certificate of appealability on ineffective assistance claim denied because defendant did not present
specific facts to show that co-defendant would have offered exculpatory evidence).

                                                -10-
Case 2:06-cr-20056-KHV          Document 779            Filed 01/14/11    Page 11 of 17




denied, 517 U.S. 1235 (1996). Defendant has not shown that counsel’s alleged failure to present or

investigate any defenses was deficient or prejudicial (that is, that it would have altered her decision

to plead guilty). The Court therefore overrules her first claim for relief.

               2.      Failure To Appeal Or Advise Defendant Of Deadline To Appeal – Claim 2

               Defendant complains that counsel did not appeal or advise defendant of the time

limits for appeal. In her motion, defendant acknowledges that she did not appeal because she could

not do so under the terms of the plea agreement. See Doc. #744 at 2; Plea Agreement ¶ 13.

Defendant does not allege that she instructed counsel to appeal. In Roe v. Flores-Ortega, 528 U.S.

470 (2000), the Supreme Court rejected a bright-line rule that counsel’s failure to consult defendant

regarding an appeal is per se deficient. Id. at 480. Instead, counsel must consult defendant about

an appeal if counsel has “reason to think either (1) that a rational defendant would want to appeal

(for example, because there are nonfrivolous grounds for appeal), or (2) that this particular defendant

reasonably demonstrated to counsel that [s]he was interested in appealing.” Id. In evaluating this

type of claim, the Court must take into account all information which counsel knew or should have

known. Id. Though not determinative, the Court must also consider the highly relevant factor

whether the potential appeal followed a plea or a verdict “both because a guilty plea reduces the

scope of potentially appealable issues and because such a plea may indicate that the defendant seeks

an end to judicial proceedings.” Id. When defendant pleads guilty, the Court must also consider

such factors as whether defendant received the sentence bargained for as part of the plea and

whether the plea expressly reserved or waived some or all appeal rights. Id. In addition to deficient

performance, defendant must show that counsel’s failure to consult about an appeal was prejudicial.

To show prejudice in these circumstances, defendant must show a reasonable probability that but

for counsel’s failure to consult with her about an appeal, she would have timely appealed. Id. at 484.


                                                 -11-
Case 2:06-cr-20056-KHV          Document 779           Filed 01/14/11    Page 12 of 17




       Based on the record, the Court finds that counsel’s alleged failure to consult defendant about

an appeal was neither deficient nor prejudicial. First, defendant’s conviction was the result of a

guilty plea, and her actual sentence (8 years) was significantly less than 20-year statutory maximum

sentence about which the Court and the plea agreement informed defendant. Defendant did not enter

a conditional plea and she expressly agreed that she would not be permitted to withdraw her plea

if she did not agree with the sentence which the Court imposed. Second, in the plea agreement,

defendant waived her right to appeal or collaterally attack her sentence, thus indicating that she

sought an end to judicial proceedings. Third, defendant has not alleged or shown that she expressed

to counsel any interest in appealing her conviction or sentence which was significantly below the

statutory maximum for the money laundering charge (and well below the sentencing guideline range

of 360 months to life which would have applied if she had been convicted of the conspiracy charge

which the government agreed to dismiss as part of the plea agreement). Based on these facts,

reasonable counsel would believe that defendant did not have any non-frivolous issues to appeal and

that defendant did not desire to appeal. Therefore, counsel was not deficient in failing to consult

defendant about a possible appeal. See United States v. Rios-Garcia, No. 02-20104-01-KHV, 2005

WL 3845345, at *7 (D. Kan. Dec. 8, 2005), appeal dismissed, 200 Fed. Appx. 793 (10th Cir. 2006),

cert. denied, 549 U.S. 1241 (2007); United States v. Flowers, No. 03-3051-SAC, 2004 WL 1088767,

at *8 (D. Kan. 2004).

       Even if counsel was deficient in not consulting defendant about a possible appeal, defendant

has not shown a reasonable probability that but for counsel’s deficient performance, an appeal would

have been filed.8 In light of the waiver in the plea agreement and the significant reduction of


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               The Court does not presume prejudice in these circumstances. That presumption only
applies where counsel disregards a defendant’s specific instructions to file an appeal. See Roe, 528
                                                                                        (continued...)

                                                -12-
Case 2:06-cr-20056-KHV          Document 779           Filed 01/14/11   Page 13 of 17




defendant’s sentence based on the plea agreement, defendant has not identified and the Court cannot

find any non-frivolous grounds on which she could have appealed. Defendant has not shown a

reasonable probability that she would have filed a notice of appeal had counsel consulted with her.

Rios-Garcia, 2005 WL 3845345, at *8; Flowers, 2004 WL 1088767, at *8. The Court therefore

overrules her second claim for relief.

               3.      Advice About Statutory Maximum – Claim 3

               Defendant argues that counsel induced her to plead guilty by stating that defendant

could be subject to a sentence “10 times more severe” than the sentence actually allowed by law.

Defendant does not state precisely what counsel told her was the maximum penalty, but the statutory

maximum for the conspiracy count was in fact life in prison. See 21 U.S.C. § 846; 21 U.S.C.

§ 841(b)(1)(A)(ii). Defendant therefore has not shown that counsel’s advice was deficient.

       Even if counsel failed to fully explain the maximum sentence under the conspiracy count,

defendant has not shown a reasonable probability that but for counsel’s alleged error, the results of

the plea proceeding would have been different, i.e. that she would not have agreed to plead guilty.9

See United States v. Young, 206 Fed. Appx. 779, 785 (10th Cir. 2006); Rantz, 862 F.2d at 810-11.

               4.      Advice To Waive Right To Appeal As Part Of Plea Agreement – Claim 4

               Defendant argues that counsel was ineffective because he suggested a waiver of



       8
        (...continued)
U.S. at 477, 484-85; United States v. Snitz, 342 F.3d 1154, 1155-56 (10th Cir. 2003). Here,
defendant does not allege that she asked counsel to file an appeal.
       9
                In particular, the indictment notes the statutory maximum of life in prison on the
conspiracy count. See Indictment (Doc. #1) at 19. In the plea petition, defendant acknowledged that
she had received a copy of the indictment, had discussed it with her lawyer and fully understood
every charge against her. See Petition To Enter Plea Of Guilty And Order Entering Plea (Doc. #328)
¶ 3. Defendant therefore already knew that the statutory maximum penalty on the conspiracy count
was life in prison.

                                                -13-
Case 2:06-cr-20056-KHV          Document 779           Filed 01/14/11    Page 14 of 17




appeal as part of the plea agreement. The Court notes that (1) in this district, waivers of appeal are

standard in plea agreements and (2) defendant received a significant reduction in her sentence (from

some 360 months down to 96 months) because pursuant to the plea agreement, the government

dismissed the conspiracy count and filed a downward departure motion. The plea agreement is not

so one-sided as to suggest that defense counsel was ineffective by advising defendant to enter a

waiver of appeal rights. Indeed, counsel achieved an excellent result for his client in a large drug

conspiracy case.

       Defendant also suggests that she did not agree to an appeal waiver. Defendant acknowledged

at the plea hearing that under Paragraph 13 of the plea agreement, she would have no right to appeal

the sentence or any other matter in the case unless the Court gave her a sentence above the

applicable guideline range. She also acknowledged that her plea was free and voluntary and that no

one had forced or threatened her to enter it. Absent a believable reason justifying departure from the

apparent truth of an accused’s statements at a Rule 11 proceeding at which her plea is accepted, such

statements are conclusively established. United States v. Glass, 66 Fed. Appx. 808, 810 (10th Cir.

June 3, 2003); United States v. Jones, 124 F.3d 218, 1997 WL 580493, at *1 (10th Cir. Sept.19,

1997); United States v. Bambulas, 571 F.2d 525, 526 (10th Cir. 1978). Even absent the waiver in

the plea agreement, defendant has not identified and the Court cannot find any non-frivolous

grounds on which she could appeal in light of her 96-month sentence. In sum, defendant has not

alleged facts which would suggest that counsel’s performance on this issue was deficient or

prejudicial.

               5.      Objections To Firearm Enhancement And Drug Quantity – Claims 5 And 6

               Defendant argues that the PSIR incorrectly included a firearm enhancement and that

drug quantities were based on statements to government agents after she had agreed to cooperate


                                                -14-
Case 2:06-cr-20056-KHV          Document 779           Filed 01/14/11      Page 15 of 17




and after agents had assured her that the statements could not be used against her.10 Defendant has

not shown that a favorable ruling on these objections would have had any impact on her ultimate

sentence of 96 months in prison. As noted above, defendant conceded at sentencing that even if the

Court sustained all of her objections, she faced a minimum guideline range starting at 135 months.

When the Court re-convened the sentencing hearing, defendant withdrew her objections. She

apparently did so based on her understanding that regardless of the Court’s ruling on her specific

offense level under the guidelines, the government intended to file a Section 5K1.1 motion which

recommended a sentence of 96 months. In sum, defendant has not alleged or shown a defect in the

proceedings which resulted in a “complete miscarriage of justice.” Davis, 417 U.S. at 346. The

Court therefore overrules defendant’s fifth and sixth claims for relief.

III.   Conclusion

       The files and records in this case conclusively show that defendant is not entitled to relief.

Moreover, defendant does not allege specific and particularized facts which, if true, would entitle

her to relief. Accordingly, no evidentiary hearing is required. See 28 U.S.C. § 2255; Kilpatrick,

1997 WL 537866, at *3 (allegations of ineffective assistance must be specific and particularized;

conclusory allegations do not warrant hearing); United States v. Marr, 856 F.2d 1471, 1472 (10th

Cir. 1988) (no hearing required where factual matters raised by Section 2255 petition may be



       10
                In addition to the waiver of collateral challenges discussed above, defendant’s
proposed fifth and sixth claims appear to be barred because she did not raise them on direct appeal.
See United States v. Williams, 139 Fed. Appx. 974, 976 (10th Cir. 2005). A court may raise
procedural bars sua sponte but must afford the movant an opportunity to respond to the defenses.
See United States v. Warner, 23 F.3d 287, 291 (10th Cir. 1994). Because defendant’s fifth and sixth
claims are procedurally barred on other grounds and obviously lack merit, the Court proceeds
directly to the merits of these claims in the interests of judicial efficiency. See United States v.
Allen, 16 F.3d 377, 378-79 (10th Cir. 1994) (court may raise and enforce procedural bar sua sponte
if doing so furthers interests of judicial efficiency, conservation of scarce judicial resources and
orderly and prompt administration of justice).

                                                -15-
Case 2:06-cr-20056-KHV           Document 779           Filed 01/14/11    Page 16 of 17




resolved on record); United States v. Barboa, 777 F.2d 1420, 1422-23 (10th Cir. 1985) (hearing not

required unless “petitioner’s allegations, if proved, would entitle him to relief” and allegations are

not contravened by record).

IV.     Certificate Of Appealability

       Under Rule 11 of the Rules Governing Section 2255 Proceedings, the Court must issue or

deny a certificate of appealability when it enters a final order adverse to the applicant. The Court

may issue a certificate of appealability only if the applicant has made a substantial showing of the

denial of a constitutional right. 28 U.S.C. § 2253(c)(2).11 To satisfy this standard, the movant must

demonstrate that “reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.” Saiz v. Ortiz, 392 F.3d 1166, 1171 n.3 (10th Cir. 2004) (quoting

Tennard v. Dretke, 542 U.S. 274, 282 (2004)). For reasons stated above, the Court finds that

defendant has not made a substantial showing of the denial of a constitutional right. The Court

therefore denies a certificate of appealability as to its ruling on defendant’s Section 2255 motion.

       IT IS THEREFORE ORDERED that defendant’s Motion Under 28 U.S.C. § 2255 To

Vacate, Set Aside Or Correct Sentence By A Person In Federal Prison (Doc. #744) filed April 8,

2010 be and hereby is OVERRULED. A certificate of appealability as to the ruling on defendant’s

Section 2255 motion is DENIED.

       IT IS FURTHER ORDERED that defendant’s Memorandum Of Law To Support Motion

Under 2255 Filed April 8, 2010 (Doc. #759) filed June 1, 2010, which the Court construes as a

motion to amend defendant’s Section 2255 motion, be and hereby is OVERRULED.




       11
                 The denial of a Section 2255 motion is not appealable unless a circuit justice or a
circuit or district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1); 28 U.S.C.
§ 2253(c)(1).

                                                 -16-
Case 2:06-cr-20056-KHV       Document 779          Filed 01/14/11     Page 17 of 17




      Dated this 14th day of January, 2011, at Kansas City, Kansas.

                                           s/ Kathryn H. Vratil
                                           KATHRYN H. VRATIL
                                           United States District Judge




                                            -17-
